IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

EASTERN DIVISION
Latasha Hill SOUTHERN DISTRICT OF MISSISSIPPI
Plaintiff;
v. JUL 152025
AUTO CLUB FAMILY INSURANCE COMPANY, ET AL., ARTHUR JOHNSTON
Defendants. BY DEPUTY

CASE NO.: 2:24-cv-00107-KS-BWR
July 15, 2025

PLAINTIFF’S EMERGENCY MOTION FOR RANDOM REASSIGNMENT PURSUANT
TO 28 U.S.C. § 137, FED. R. CIV. P. 1, AND LOCAL RULE 83.1

TO THE HONORABLE CHIEF JUDGE OF THE SOUTHERN DISTRICT OF
MISSISSIPPI:
COMES NOW, Latasha Hill, propria persona Plaintiff, and respectfully moves this Court for |
random reassignment of this case to a neutral judge, pursuant to 28 U.S.C. § 137, Federal Rules
of Civil Procedure 1 (just, speedy, and inexpensive determination), Local Uniform Civil Rule
83.1 (random case assignment), due to demonstrable judicial bias, financial conflicts, and

systemic irregularities that have deprived Plaintiff of due process under the Fifth Amendment.
I. LEGAL BASIS FOR REASSIGNMENT
A. 28 U.S.C. § 137 — Random Assignment Mandate

Federal law requires:

"All cases filed in a district court shall be assigned by the clerk to judges of the court by random
selection.”

Violation: This case was not randomly assigned to Judge Starrett. It was removed from state
court (Forrest County Circuit Court Case No. 18C11:24-cv-00090) and steered to Starrett, who
has:

e Financial ties to insurers/energy companies (Exxon, Chevron stocks).

e Undisclosed GMU judicial "education" trips (Koch-funded seminars).
e Rulings favoring corporate defendants (delaying sealing, blocking discovery).

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B. Federal Rule of Civil Procedure 1 — Justice Over Procedure

Courts must secure the "just, speedy, and inexpensive determination" of cases. Judge Starrett’s
conduct has caused:
|
e Unjust delays (e.g., striking Plaintiff's filings without cause).
¢ Procedural sabotage (ignoring FRCP 5.2(d) privacy protections).

C. Local Rule 83.1 — Southern District of Mississippi
"Cases are assigned randomly to judges to prevent judge-shopping."
D. Mississippi Unfair Claims Practices Act (§ 83-5-35)

Insurers cannot "engage in unfair or deceptive acts." Judge Starrett’s refusal to compel
production of Auto Club’s claims manual (Request for Production, 06/12/2025 and the deadline
in 14 days. Propria Persona Plaintiff mistakenly listed 30 days) enables bad faith.

II. JUDICIAL BIAS & CONFLICTS
A. Financial Conflicts (28 U.S.C. § 455(a))

Judge Starrett’s 2023 Financial Disclosure shows:

e Stock in Exxon (XOM), Chevron (CVX), Energy Transfer LP (ET) — companies with
financial stakes in insurance litigation.

e GMU "Seminars" funded by Koch, Pfizer, U.S. Chamber of Commerce (NPR
Investigation, 05/01/2024).

e Prior PAC donations are a conflict of interest. |

Precedent:
e Caperton vy. A.T. Massey Coal Co., 556 U.S. 868 (2009): Judges must recuse if "a risk of
actual bias exists."
e Williams v. Pennsylvania, 136 S. Ct. 1899 (2016): Financial conflicts = Due Process
violation.

B. Procedural Bias

1. Delayed Sealing of Private Home Photos (violating FRCP 5.2(d)).
2. Struck Plaintiff's Filings Without Cause (Order 51, 05/22/2025).
3. Ignored Evidence of Policy Forgery and altered insurance docs.

Ill. SYSTEMIC IRREGULARITIES
A. Alleged AI-Driven Judicial Manipulation

e Allegedly Plaintiff suspects Auto Club likely uses LexisNexis/Lex Machina to predict |
rulings.

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e Precedent: State v. Loomis, 881 N.W.2d 749 (Wis. 2016) (AI bias violates Due Process).

B. Discovery Abuse

e Key Evidence was blocked: Claims manuals, adjuster notes.
e Violates FRCP 26(b)(1) (scope of discovery).

IV. RELIEF REQUESTED

1. Immediate random reassignment under the Chief Judge 28 U.S.C. § 137.

2. Investigation into Judge Starrett’s GMU disclosures and stock trades.

3. Sanctions against Auto Club for spoliation of evidence (altered policy).

4. Immediate stay of proceedings pending Chief Judge’s order or investigation.

I Latasha Hill proceeds In Good Faith, Without Dishonor, and Reserves All Rights under
UCC 1-308, Without Prejudice.

Notary Witness and Acknowledgement

United States of America }
State of Missjgsippi } $.a.
County of “q7 re st 1

Today before me, a Commissioned Notary, is the living, flesh and blood, and natural woman
known to be Latasha Hill and she did issue this Formal Emergency Motion and she also affirmed
her testimony as shown before me this _ | s day of Oy u in the year 2025, in
Witness whereof I set my Signature and Seal:

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Public Notary Phinted Name Public Nofayy Signature

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\ < Latasha Hill

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AEs. dW 295 latashahill30047@yahoo.com

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° Case: 2:24-cv-00107-KS-BWR

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SOUTHERN DISTRICT OF MISSISSIPPI

EASTERN DIVISION
Latasha Hill,
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AUTO CLUB FAMILY INSURANCE COMPANY,
Defendant.

Case No.: 2:24-cv-00107-KS-BWR
Date: July 15, 2025

CERTIFICATE OF SERVICE

Pursuant to 28 U.S.C. § 137, Fed.R.Civ. P.1., and Local Rule 83.1 plaintiff's emergency motions
for random reassignment of this case to a neutral judge. This letter serves as formal notice of
Plaintiff's Motion for emergency random reassignment. I, Latasha Hill, certify that on July 15,
2025, I will serve this Motion To Compel, on Priscilla K. Williams via email
pkwilliams@csattorneys.com and pkw@csattorneys.com.

Method of service: [X] Email

Priscilla K. Williams
CHRISTIAN & SMALL, LLP
505 20" St. North, Suite 1800
Birmingham, Alabama 35203

205-795-6588 |
pkwilliams@csattorneys.com ih NE ly

By:__/s/ Latasha Hill
Latasha Hill
Propria Persona
Sui Juris

Latasha Hill

8 Annie Christie Drive

Hattiesburg, Mississippi 39401

Civil Action No. 2:24-cv-107-KS-BWR
601-202-3262
